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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

 COUNCIL ON AMERICAN-ISLAMIC
 RELATIONS – CONNECTICUT and MAKE
 THE ROAD NEW YORK,

                      Plaintiffs,                    Civil Action No.
                                                     3:17-cv-1061-RMS
                          v.

 U.S. CITIZENSHIP AND IMMIGRATION
 SERVICES, U.S. CUSTOMS AND BORDER
 PROTECTION, and U.S. DEPARTMENT OF
 STATE,

                     Defendants.


                                    JOINT STATUS REPORT

        Pursuant to this Court’s Minute Order of January 13, 2021, the parties provide the instant

joint status report and state as follows.

        1.      During the status hearing of December 21, 2020, the Court requested that the

parties provide an update related to Defendant Department of State’s (“Department”) efforts to

process the remaining pages subject to Plaintiffs’ narrowed FOIA request.

        2.      Defendants report that since that time the Department has completed in an initial

responsiveness review of the outstanding documents to remove facially non-responsive

documents and to determine the number of pages that are likely responsive to Plaintiffs’

narrowed FOIA request. As a component of this review, the Department also de-duplicated the

documents remaining against each other, although there still may be certain documents

remaining that are duplicates of those which have already been produced.
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       3.      Defendants informed Plaintiffs that there are approximately 3,637 pages

remaining to be processed by the Department of State, including some 2,386 pages from the

Office of the Legal Adviser and 1,251 pages from other offices within the Department.

       4.      Defendants further informed Plaintiffs that, under the current processing goal of

500 pages per month, under Phase One of the Department’s reopening plan, it will take

approximately 5 months to process the records of the Office of the Legal Adviser and 2-3 months

to process the balance of the records. If the Department enters Phase Two of reopening, with a

target processing rate of 650 pages per month, it will take approximately 4 months to process the

records of the Office of the Legal Adviser and 2 months to process the balance of the records.

       5.      Plaintiffs informed Defendants that they wish for the Department to continue

processing all outstanding documents.

       6.      Plaintiffs expressed to Defendants that, given the length of this litigation and their

understanding at the time Plaintiffs agreed to narrow their request that the Department would

finish processing parent documents in a matter of months, ECF No. 89 (November 18, 2019),

they are concerned about the rate of processing of the recently discovered Department parent

documents and have requested that Defendants devote additional resources to processing the

request.

       7.      Defendants report that despite its limited onsite capacity, the Department has

already assigned a second onsite reviewer to this case to work toward processing these records as

expeditiously as possible. The Department will evaluate whether any additional processing

resources may be utilized in this matter. However, the Department reiterates that its processing

capacity is significantly limited by the ongoing COVID-19 pandemic, and the Department’s

status at Phase One of reopening.




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       8.      Defendants state that the Department will accordingly continue to produce those

non-exempt documents that have been fully processed every six weeks, and will endeavor in

good faith to meet the previously discussed processing targets, tied to the Department’s phased

reopening: 500 pages per production cycle in Phase One, 650 pages per production cycle in

Phase Two, and 800 pages per production cycle in Phase Three.




Respectfully submitted this 5th day of February, 2021,



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